

People v Behlin (2021 NY Slip Op 06816)





People v Behlin


2021 NY Slip Op 06816


Decided on December 07, 2021


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: December 07, 2021

Before: Acosta, P.J., Gische, Webber, Friedman, Kennedy, JJ. 


Ind No. 2382/15 Appeal No. 14783 Case No. 2017-02374 

[*1]The People of the State of New York, Respondent,
vRahbu Behlin, Defendant-Appellant.


Caprice R. Jenerson, Office of The Appellate Defender, New York (Katrina Jean Myers of counsel), for appellant.
Cyrus R. Vance, Jr., District Attorney, New York (Molly Morgan of counsel), for respondent.



Judgment, Supreme Court, New York County (Gilbert C. Hong, J.), rendered February 16, 2017, convicting defendant, after a jury trial, of robbery in the first degree, criminal possession of a weapon in the third degree, obstructing governmental administration and attempted assault in the third degree, and sentencing him, as a second felony offender, to an aggregate term of nine years, unanimously affirmed.
The verdict was not against the weight of the evidence (see People v Danielson, 9 NY3d 342 [2007]). There is no basis for disturbing the jury's credibility determinations. The evidence supports the conclusion that when defendant used force against a store employee, defendant was aware he was still in possession of stolen merchandise, and his intent was to overcome the employee's resistance to defendant's retention of that merchandise, rather than being solely to effectuate his escape (see People v Gordon, 23 NY3d 643, 650 [2014]).
We perceive no basis for reducing the sentence.
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: December 7, 2021








